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                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                        SEVENTH NOTICE OF SATISFACTION: EXHIBIT B – Partially Satisfied Claims

                                                                                          ASSERTED                                        REMAINING AMOUNT
                                                         CLAIM                               PRIORITY        CLAIM                                   PRIORITY         CLAIM
                     NAME                                  #             DEBTOR               STATUS        AMOUNT                DEBTOR              STATUS         AMOUNT
1   ARLINGTON INDEPENDENT SCHOOL                           12       Luminant Mineral       Secured            $8,197.46*     Luminant Mineral      Secured              $41.21*
    DISTRICT                                                        Development                                              Development
    C/O PERDUE BRANDON FIELDER COLLINS                              Company LLC                                              Company LLC
    MOTT
    ATTN: R. BRUCE MEDLEY
    P.O. BOX 13430
    ARLINGTON, TX 76094-0430
    REASON FOR SATISFACTION: Claim partially satisfied pursuant to court order entered on 06/04/2014 [Docket No. 799]. Paid via check number 1010006267, 1010017447, 1010042317,
    and 1002687095 on 09/25/2014, 01/20/2015, 10/20/2015, and 12/19/2016 respectively.

2   COUNTY OF TITUS, TEXAS                                 2608     Luminant Generation    Secured          $3,655,953.84*   Luminant Generation   Secured               $2,904.01*
    ATTN: TIM R. TAYLOR, ATTORNEY                                   Company LLC                                              Company LLC
    P.O. BOX 1212
    MOUNT PLEASANT, TX 75456-1212
    REASON FOR SATISFACTION: Claim partially satisfied pursuant to court order entered on 06/04/2014 [Docket No. 799]. Paid via check numbers 1010012076 and 1010017378 on
    11/20/2014 and 01/20/2015, respectively.

3   EAGLE MOUNTAIN-SAGINAW ISD                            10036     Luminant Mineral       Secured              $3,747.36    Luminant Mineral      Secured                 $273.00
    C/O PERDUE BRANDON FIELDER COLLINS                              Development                                              Development
    MOTT                                                            Company LLC                                              Company LLC
    ATTN: ELIZABETH BANDA CALVO
    500 EAST BORDER ST, SUITE 640
    ARLINGTON, TX 76010
    REASON FOR SATISFACTION: Claim partially satisfied pursuant to court order entered on 06/04/2014 [Docket No. 799]. Paid via check number 1010042317 on 10/20/2015.

4   NOLAN COUNTY                                          12898     EFH Corporate          Administrative       $2,178.39    EFH Corporate         Administrative        $2,074.95
    C/O PERDUE BRANDON FIELDER COLLINS                              Services Company                                         Services Company
    MOTT
    ATTN: ELIZABETH BANDA CALVO
    500 EAST BORDER ST., SUITE 640
    ARLINGTON, TX 76010
    REASON FOR SATISFACTION: Claim included post-petition amounts, which were paid in the ordinary course of business. Paid via check number 1010050751 on 01/26/2016.




* - Indicates claim contains unliquidated and/or undetermined amounts                                                                                 Page 1 of 3
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                                                                      ENERGY FUTURE HOLDINGS CORP., et al.

                                             SEVENTH NOTICE OF SATISFACTION: EXHIBIT B – Partially Satisfied Claims

                                                                                                     ASSERTED                                                  REMAINING AMOUNT
                                                                CLAIM                                    PRIORITY             CLAIM                                          PRIORITY         CLAIM
                             NAME                                  #            DEBTOR                    STATUS             AMOUNT                DEBTOR                     STATUS         AMOUNT
5     NOLAN COUNTY                                               12909     Luminant Generation         Administrative           $1,901.01     Luminant Generation          Administrative       $233.55
      C/O PERDUE BRANDON FIELDER COLLINS                                   Company LLC                                                        Company LLC
      MOTT
      ATTN: ELIZABETH BANDA CALVO
      500 EAST BORDER ST., SUITE 640
      ARLINGTON, TX 76010
      REASON FOR SATISFACTION: Claim included post-petition amounts, which were paid in the ordinary course of business. Paid via check number 1010050751 on 01/26/2016.

6     REDDY ICE CORPORATION                                      3250      Luminant Generation         503(b)(9)                  $1,084.46   Luminant Generation          503(b)(9)            $435.76
      5720 LYNDON B JOHNSON FWY STE 200                                    Company LLC 1                                                      Company LLC
      DALLAS, TX 75240-6396                                                Luminant Mining             503(b)(9)                   $175.50    Luminant Mining              503(b)(9)            $175.50
                                                                           Company LLC                                                        Company LLC
      TRANSFERRED TO: LIQUIDITY SOLUTIONS,                                 Luminant Mining             Unsecured                  $1,281.09   Luminant Mining              Unsecured           $1,076.50
      INC.                                                                 Company LLC                                                        Company LLC
      TRANSFEROR: REDDY ICE CORPORATION                                    Oak Grove                   Unsecured                   $151.00    Oak Grove                    Unsecured            $151.00
      ONE UNIVERSITY PLAZA                                                 Management                                                         Management
      SUITE 312                                                            Company LLC                                                        Company LLC
      HACKENSACK, NJ 07601                                                                             Subtotal                   $2,692.05                                Subtotal            $1,838.76


      REASON FOR SATISFACTION: Claim included post-petition invoices, which were paid in the ordinary course of business. Paid via check numbers 1002703166 and 1002703478 on
      06/25/2014 and 06/30/2014, respectively.

7     ROMERO, ROGELIO                                            5821      Oak Grove                   Secured                 $50,600.50 2   Oak Grove                    Secured            $50,600.00
      D/B/A YOLANDA CERRILLO                                               Management                                                         Management
      12566 COLEMAN ST                                                     Company LLC                                                        Company LLC
      TYLER, TX 75704-8804                                                 Oak Grove                   Unsecured                  $2,060.50
                                                                           Management
                                                                           Company LLC
                                                                                                       Subtotal                 $52,661.00


      REASON FOR SATISFACTION: Claim included post-petition amounts, which were paid in the ordinary course of business. Paid via check number 1002705816 on 07/24/2014.




1
    Claim 3250 was modified 10/20/2016, by the Order (Third) Sustaining Twenty-Third Omnibus (Substantive) Objection To (Certain Improperly Asserted Claims. (DI. 9899).

2
    Claim 5821 was modified 04/26/2016, by the Order Sustaining Debtors Fortieth Omnibus (Substantive) Objection To No Liability And Overstated Claims. (DI. 8280).


* - Indicates claim contains unliquidated and/or undetermined amounts                                                                                                          Page 2 of 3
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                                                               ENERGY FUTURE HOLDINGS CORP., et al.

                                        SEVENTH NOTICE OF SATISFACTION: EXHIBIT B – Partially Satisfied Claims

                                                                                          ASSERTED                                       REMAINING AMOUNT
                                                         CLAIM                               PRIORITY       CLAIM                                  PRIORITY         CLAIM
                     NAME                                  #             DEBTOR               STATUS       AMOUNT               DEBTOR              STATUS         AMOUNT
8   TARRANT COUNTY                                        1730      TXU Energy Retail      Secured          $18,400.93*    TXU Energy Retail     Secured            $7,546.78*
    C/O LINEBARGER GOGGAN BLAIR                                     Company LLC                                            Company LLC
    SAMPSON LLP
    ATTN: ELIZABETH WELLER
    2777 N. STEMMONS FREEWAY, SUITE 1000
    DALLAS, TX 75207
    REASON FOR SATISFACTION: Claim partially satisfied pursuant to court order entered on 06/04/2014 [Docket No. 799]. Paid via check number 1010017447, 1010048211 and
    1010048211 on 01/20/2015, 12/21/2015 and 12/29/2015 respectively.

9   TITUS COUNTY APPRAISAL DISTRICT                        2352     Luminant Generation    Secured         $6,529,803.54   Luminant Generation   Secured            $128,374.15
    ATTN: TIM R. TAYLOR, ATTORNEY                                   Company LLC                                            Company LLC
    P.O. BOX 1212
    MOUNT PLEASANT, TX 75456
    REASON FOR SATISFACTION: Claim partially satisfied pursuant to court order entered on 06/04/2014 [Docket No. 799]. Paid via check numbers 1010012075 and 1010017381 on
    11/20/2014 and 01/20/2015, respectively.

                                                                                           TOTAL         $10,275,535.58*                         TOTAL             $193,886.91*




* - Indicates claim contains unliquidated and/or undetermined amounts                                                                                Page 3 of 3
